THE UNITED STATES DIS'I`RICT COURT
F()R THE WESTERN DISTRICT UF NORTH CAROL{NA

 

CHARLOTTE I)IVISION
THE UNITE]) STATES DF AMERICA, ) CIVIL ACTION NO. 3:11~cv-»0141
THE STATE OF GEORGIA, )
THE STATE OF NORTH CAROLINA ) CASE UNI)ER SEAL PURSUANT
'I`HE STATE ()F TEXAS, and ) TO MARCH 25, 2011 ORDER
THE C(}MMONWEALTH OF VIRGINIA, )
EXR.EL. ANTONIO SAIDIANI )
) I)O NO'L` PLACE IN PRESS B()X
Plaintiffs, ) I)O NOT ENTER ()N PACER
)
v. )
) .IURY TRIAL DEMANBED
NEXTCARE, INC., )
NEXTCARE ARIZGNA LLC, )
COLORADO URGENT CARE, LLC, )
NEXTCARE GEORGIA LLC, )
NAEXTCARE N()RTH CAROLINA LLC, )
JOHN SHUFELDT, and )
D()ES 1 THROUGH 25, INCLUSIVE, }
)
Defendants. )

MEMORANDUM OF LAW IN SUPPORT ()F PLAINTIFF’S
COUNSEL’S MOTION FOR ATTORNEY’S FEES. COSTS. AND EXPENSES

Counsei for Plaintiff Saidiani submits this memorandum of law in support of his motion
for an award of attorney’$ fees, costs, and expenses for professional services rendered in
connection With the above»caption action.

EA....Q..'Y..S.

1) On December 21, 2009, Lorin Granger filed a Federal False Claims Act (“Federai

FCA”) lawsuit against Nestare, Inc. in the Westem District of North Caroiina captioned Unired

Sl'al'es ex rel Gmnger v. NexfCare, Inc., Case Numbc~:r 3:09-CV-535-FDW~DCK (the “Granger”

Case 3:11-cV-00141-GC|\/| Document 30-1 Filed 06/21/12 Page 1 of 6

suit). Tlie Granger suit named the United States as a plaintiff lt did not name any states as
plaintiffs The suit Was filed under seal and remains under seai.

2) Unaware of the Granger suit, on March 24, 2011, Antonio Saidiani, by and

 

through the undersigned counsei, fried an FCA lawsuit against NextCare, Inc. in the Western
District of North Carolina captioned Um'l'ed States, Colorado, Georgia, North Carolz`nct, Texas,
and Vz'rginia ex rel. Saz'dz'ani vt NextCare, Irzc., Case Number 3:11~]:'3\/»0141 (the “Saidiani”
suit).

3) Uniike the initial Granger complaint, the Saidiani complaint named the above-
listed states as plaintiffs The suit alleged that NextCare submitted lfalse claims to the named
states and the federai government (collectiveiy, the “Government Piaintifi"s”).

4) The Government Plaintiffs investigated the allegations 'The State ofNortli
Carolina has indicated that it is intervening in the Saidiani snit. The United States has also
indicated that it is intervening in tire Saidiani suit. The States of Georgia, 'l`exas, Virginia, and
Colorado have deciined to intervene in the Saidiani suit.

5) In tile iatter part of 201 i, Saidiani and Granger entered into an agreement to share
any proceeds from either the Granger suit or the Saidiani suit (this is a common practice in FCA
litigation).

6) Snbsequently, the United States negotiated an agreement Witli NextCare to
resolve the Saidiani and Granger suits (the “Federai Agreement”). Granger negotiated an
agreement With NextCare with respect to attorney’s fees n

7) Saidiani and NextCare could not reach agreement regarding attorney’s fees
Accordingly, the Federal Agreernent expressly reserves Saidiani’s right to pursue NextCare for

attorney’s fees under the Federai FCA.

Case 3:11-cV-00141-GC|\/| Document 30-1 Filed 06/21/12 Page 2 of 6

8) Subsequently, the above»narned states, Saidiani, and Granger entered an
agreement with respect to the State FCA claims (“State Agreement”). Consistent with the

sharing agreement between Saidiani and Granger, Saidiani and Granger will share the proceeds

 

Ofthe gate FCA _C__l_al_m____ __ __ __ __ _ _ __ ____ __ _
DISCUSSION
9) Under the Federal FCA, 31 U.S.C. 3129 et seq., a private plaintiff who brings a
suit that leads to a judgment or a settlement is entitled to a portion of the proceeds, and
reasonable expenses, costs, and attorney’s fees. 3l U.S.C. § 3 l30(d).

l{)) All of the above-named states have enacted statutes which are substantially

n similar to the Federal FCA. Colorado’s statute is known as the Colorado l\/ledical Assistance

Act, Colo. Rev. Stat. 25.5~4»305 et seq. Georgia’s statute is known as the State False i\/ledicaid
Clairns Act, Ga. Code Ann. 49-4-168 et seq. North Carolina’s statute is known as the False
Clairns Act, N.C. Gen. Stat. 1-605 et seq. Texas’ statute is known as l\/.[edicaid Fraud
Prevention, "i`ex. Hum. Res. Code Ann. 36.001 er seq. Virginia’s statute is lmown as the Virginia
Fraud Against 'l`axpayers Act, Va. Code Ann. 8.01-216.1 et seq. (hereinafter the “State FCA’s”).

ll) Each of the State FCA’s provides that a private plaintiff who brings a suit that
leads to a judgment or a settlement is statutorily entitled to a portion of the proceeds, and
reasonable expenses, costs, and attorney’s fees. See Colo. Rev. Stat. §§ 25.5-4-306(4)(a)(lil) (b);
Ga. Code Ann. §§ 49-4~168.2(i)(l)(2); N.C. Gen. Stat. §§ 1~610(d)(e); Tex. Hum. Res. Code
Ann. § 36.110(c); and Va. Code Ann. §§ 8.01-216.7(A)(B).

12) All of the State FCA’s contain so~cailed “l'irst to tile” provisions See Colorado:
Colo. Rev. Stat. § 25 .5»4“306(2)(@); Georgia: Ga. Code Ann. § 49»4-l68.2(c)(6); N.C. Gen. Stat.

§ l"608(l))(5); Tex. Hum. Res. Code Ann. § 36.106; and Va. Code Ann. § S.Ol~Zl_G.S(E).

Case 3:11-cV-00141-GC|\/| Document 30-1 Filed 06/21/12 Page 3 of 6

CONCLUSION
13) With respect to all of the above~named states, Saidiani’s complaint Was fried first

That suit has subsequently been settled, with Saidiani agreeing to release certain FCA claims

 

against NextCare in return for a portion of the proceeds of the suit. Therefore, under the State
FCA’s, NextCare has a statutory obligation to pay Saidiani’s attorney’s fees, costs, and expenses

Dated: lime 20, 2012

Respectfully submitted,

    

Daniel R. Mi let _. `

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Case 3:11-cV-00141-GC|\/| Document 30-1 Filed 06/21/12 Page 4 of 6

THE UNITED STATES I)ISTRICT C{)URT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA

CHARLOTTE DIVISION
THE UNITED STATES OF AMERICA, ) CIVIL ACTION NO. 3:11~cv-014I
THE STATE ()F GEORGIA, )
THE STATE OF NORTH CAROLINA ) CASE UNDER S'EAL PURSUANT
THE STA’I“E OF TEXAS, and ) TO MARCH 25, 2011 OR])ER
THE COMM()NWEALTH OF VIRGINIA, )
EXREL. ANTONI() SAIDIANI )
) DO NOT PLACE IN PRESS B()X
Plaintiffs, ) l)() NOT ENTER ON PACER
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v. )
) JURY 'I`RIAL DEMAN})ED
NEXTCARE, rNc., )
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NEXTCARE GEORGIA LLC, )
NAEXTCARE NOR'I`H CAROLINA LLC, )
JOHN SHUFELDT, and )
DOES 1 THROUGH 25, INCLUSIVE, )
)
Defendants. )
CERTIFICATE ()F SERVICE

l HERBBY CERTIFY that i have this day caused a copy of Motion for Attorney’s Fees, Costs,
and Expenses and Memorandum of Law in Support of Piaintiff’s Counsel’s Motion for
Attorney’s Fees, Costs, and Expenses to be served via first-class maii, postage prepaid, to the
following counsel:

Hon. Eric I"l. l~Iolder, Jr. Donald H. Caldwell, Jr.

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United States of America The U.S. Attomey’s Oftice

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Case 3:11-cV-00141-GC|\/| Document 30-1 Filed 06/21/12 Page 5 of 6

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Case 3:11-cV-00141-GC|\/| Document 30-1 Filed 06/21/12 Page 6 of 6

